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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


JOE HAND PROMOTIONS, INC.,
               Plaintiff,
     v.

MOLLY MALONE’S LLC d/b/a FINN            CASE NO.:
MCCOOL’S,
713 8th St, SE, Washington D.C. 20003
Serve on:
James Loots
634 G St. SE
Washington D.C. 20003

AND

713 PARTNERS LLC d/b/a FINN
MCCOOL’S,
713 8th St., SE, Washington D.C. 20003
Serve on:
James Loots
634 G St SE
Washington D.C. 20003

AND

XAVIER CERVERA,
P.O. Box 203
Round Pond, ME 04564

AND

ANDREA GENTILE,
28B Marlin Lane,
Key Largo Florida, 33037

AND

WILLIAM A. SPORT,
10700 Caribbean Bl.
Cutler Bay, Florida 33189

                   Defendants.
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                                        COMPLAINT

       Plaintiff JOE HAND PROMOTIONS, INC., by and through its attorneys, for its Complaint

against Defendants, hereby alleges as follows:

                                        THE PARTIES

       1.      Plaintiff JOE HAND PROMOTIONS, INC. is a corporation organized and

existing under the laws of Pennsylvania with its principal place of business at 407 East

Pennsylvania Blvd., Feasterville, PA 19053. Plaintiff held the exclusive commercial distribution

rights to the broadcast of Ultimate Fighting Championship® 207: Nunes v. Rousey, including all

undercard bouts and commentary, telecast nationwide on December 30, 2016 (“Program”).

       2.      Upon information and belief, Defendant Molly Malone’s LLC:

               a.     is/was a business entity, the exact nature of which is unknown;

               b.     is/was a business that conducts business in the District of Columbia;

               c.     conducted business as “Finn McCool’s” on December 30, 2016;

               d.     operates, maintains and controls the establishment known as Finn McCool’s
                      located at 713 8th Street SE, Washington, D.C. 20003 (the “Establishment”);
                      and

               e.     operated, maintained and controlled the Establishment on December 30,
                      2016.

       3.      Upon information and belief, Defendant 713 Partners LLC:

               a.     is/was a business entity, the exact nature of which is unknown;

               b.     is/was a business that conducts business in the District of Columbia;

               c.     conducted business as “Finn McCool’s” on December 30, 2016;

               d.     operates, maintains and controls the establishment known as Finn McCool’s
                      located at 713 8th Street SE, Washington, D.C. 20003 (the “Establishment”);
                      and



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               e.      operated, maintained and controlled the Establishment on December 30,
                       2016.

       4.      On the date of the Program, Defendant XAVIER CERVERA:

               a.      was an officer, director, shareholder, member and/or principal of the entity
                       owning and operating the Establishment;

               b.      had a right and ability to supervise the activities of the Establishment; and

               c.      had an obvious and direct financial interest in the activities of the
                       Establishment.

       5.      On the date of the Program, Defendant ANDREA GENTILE:

               a.      was an officer, director, shareholder, member and/or principal of the entity
                       owning and operating the Establishment;

               b.      had a right and ability to supervise the activities of the Establishment; and

               c.      had an obvious and direct financial interest in the activities of the
                       Establishment.

       6.      On the date of the Program, Defendant WILLIAM A. SPORT:

               a.      was an officer, director, shareholder, member and/or principal of the entity
                       owning and operating the Establishment;

               b.      had a right and ability to supervise the activities of the Establishment; and

               c.      had an obvious and direct financial interest in the activities of the
                       Establishment.

                                  JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

as this civil action is brought under the Communications Act of 1934, as amended, 47 U.S.C. §

553 (generally referred to as “Cable Piracy”) and 47 U.S.C. § 605 (generally referred to as

“Satellite Piracy”).

       8.      Venue is proper in this District because a substantial part of the events giving rise

to the claims occurred in this District.

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                                                FACTS

        9.       Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs of this Complaint with the same force

and effect as if the same were more fully set forth at length herein.

        10.      Plaintiff is a company that specializes in distributing and licensing premier sporting

events to commercial locations such as bars, restaurants, lounges, clubhouses and similar

establishments. Since 2001, Plaintiff has been the exclusive domestic distributor for the world’s

premier mixed martial arts promotion company, the Ultimate Fighting Championship®. Over the

years, Plaintiff has invested a considerable amount of time and money in building a loyal customer

base and retaining customers.

        11.      By contract, Plaintiff was granted the exclusive right to license and distribute the

Program to commercial establishments throughout the United States. The Program broadcast

originated via satellite uplink, and was subsequently re-transmitted interstate to cable systems and

satellite television companies via satellite signal.

        12.      Plaintiff entered into subsequent agreements with various                commercial

establishments in the District of Columbia that, in exchange for a fee, allowed them to exhibit the

Program to their patrons. In consideration of the aforementioned agreements, Plaintiff expended

substantial monies to market, advertise, promote, administer and transmit the Program broadcast

to those establishments in the District of Columbia.

        13.      Prior to the broadcast of the Program, Defendants could have contracted with

Plaintiff and purchased authorization to exhibit the Program in their Establishment for a fee.

However, Defendants chose not to contract with Plaintiff or pay a fee to Plaintiff to obtain the




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proper license or authorization. At no time did Plaintiff give Defendants license, permission or

authority to receive and exhibit the Program in their Establishment.

       14.      By unauthorized satellite transmission or, alternatively, by unauthorized receipt

over a cable system, Defendants willfully intercepted or received the interstate communication of

the Program or assisted in such actions. Defendants then unlawfully transmitted, divulged and

published said communication, or assisted in unlawfully transmitting, divulging and publishing

said communication to patrons in the Establishment.

       15.      Without authorization, license, or permission to do so from Plaintiff, Defendants

exhibited the Program to the patrons within their Establishment.

       16.      Defendants pirated Plaintiff’s licensed exhibition of the Program and infringed

upon Plaintiff’s exclusive rights while avoiding proper authorization and payment to Plaintiff.

Defendants’ actions were committed willfully and with the purpose and intent to secure a

commercial advantage and private financial gain.

       17.      At the time of the wrongful conduct described herein, Defendants’ agents, servants

and employees were in fact Defendants’ agents, servants and employees, and acting within the

scope of their employment and authority as Defendants’ agents, servants and employees.

                            SATELLITE PIRACY/CABLE PIRACY

       18.      Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs of this Complaint with the same force

and effect as if the same were more fully set forth at length herein.

       19.      Defendants’ wrongful actions, in connection with the unauthorized exhibition of

the Program, as described above, violates 47 U.S.C. § 605. By reason of Defendants’ violation of

47 U.S.C. § 605, Plaintiff has standing and capacity to bring a private right of action.



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       20.      Plead in the alternative, Defendants’ wrongful actions, in connection with the

unauthorized exhibition of the Program, as described above, violates 47 U.S.C. § 553, and by

virtue of same, Plaintiff has standing and capacity to bring a private right of action.

       21.      Accordingly, Plaintiff is entitled to judgment in its favor and against each

Defendant for statutory damages, in the discretion of this Court, plus interest, costs and attorneys’

fees, pursuant to 47 U.S.C. § 605 or, alternatively, pursuant to 47 U.S.C. § 553.

                                              PRAYER

       WHEREFORE, Plaintiff prays for judgment in favor of Plaintiff and against each

Defendant as follows:

                a.      for statutory damages, in the discretion of this Court, of up to the maximum

       amount of $110,000.00 for the willful violation of 47 U.S.C. § 605, or alternatively, for

       statutory damages, in the discretion of this Court of up to the maximum amount of

       $60,000.00 for the willful violation of 47 U.S.C. § 553;

                b.      for Plaintiff’s attorney’s fees, interest, and costs of suit pursuant to 47

       U.S.C. § 605(e)(3)(B)(iii) or, alternatively, pursuant to § 553(c)(2)(C); and

                c.      for such other and further relief to which Plaintiff may be entitled.



                                                       Respectfully Submitted,

                                                       ________/s/___________________
                                                       Justin Hollimon, #MD0072
                                                       The Hollimon Firm
                                                       P.O. Box 23726
                                                       Baltimore, Maryland 21203
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                                                       jhollimon@thehollimonfirm.com
                                                       Attorneys for Plaintiff




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